
*468OPINION.
Morris:
The book value of the assets of the Equinox Spring Co. as of October 81, 1919, was $5,138.22, represented by cash, accounts receivable, inventories, machinery, and fixtures. The.principal liability was the debt of $15,100 to the taxpayer. There is no evidence in the record that these assets were not worth their book value or that the taxpayer would not be able to recover at least a part of the debt. During the 10 months immediately preceding the close of its fiscal year 1919 it recovered from the Equinox Spring Co. $5,244.49. We are therefore of the opinion that the debt was not ascertained to be worthless nor was it charged off in the fiscal year 1919. The lack of evidence as to the value of the assets of the debtor company during the taxpayer’s succeeding fiscal year forces us to conclude that the debt, although charged off, is not deductible for that year.
Aeundell net participating.
